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 12067-90581 (BDB)



                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                  EASTERN DIVISION


 AFFORDABLE CONSTRUCTION
 SERVICES, INC.,

                Plaintiff,                         No. 1:20-cv-01016
                                                      JURY DEMANDED
 v.

 AUTO-OWNERS INSURANCE
 COMPANY,

                Defendant.


     DEFENDANT OWNERS INSURANCE COMPANY’S MEMORANDUM IN SUPPORT
             OF ITS MOTION FOR JUDGMENT ON THE PLEADINGS1


                              I.   PROCEDURAL HISTORY

         This is not the first time Plaintiff Affordable Construction Services, Inc.

 (“Affordable Construction”) has sued Defendant         Owners Insurance      Company

 (improperly named as Auto-Owners Insurance Company) (“Owners”). Rather,

 Affordable Construction previously sued Owners and Third-Party Defendant Grand

 Valley Lakes Property Owners Association, Inc. (“Grand Valley”) in the Circuit Court of

 Hardeman County, Docket No. 2018-cv-48 (“the First Lawsuit”). See Complaint from

 First Lawsuit (certified copy attached hereto as Exhibit 1 and incorporated herein by

 reference).

         On December 6, 2019, Affordable Construction voluntarily nonsuited Owners



 1
  “The standard of review for a Rule 12(c) motion is the same as for a motion under
 Rule 12(b)(6) for failure to state a claim upon which relief can be granted.” Fritz v.
 Charter Tp. Of Comstock, 592 F.3d 718, 722 (6th Cir. 2010).
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 from the First Lawsuit. See Notice of Voluntary Non-Suit (certified copy attached hereto

 as Exhibit 2 and incorporated herein by reference).

        Grand Valley moved to dismiss Affordable Construction’s claim in the First

 Lawsuit based upon failure to state a claim upon which relief could be granted. Grand

 Valley argued that Affordable Construction’s claim failed because, in part, there was no

 enforceable contract between them. See Grand Valley’s Motion to Dismiss (certified

 copy attached hereto as Exhibit 3 and incorporated herein by reference). The

 Hardeman County Circuit Court agreed and granted Grand Valley’s motion. See Order

 (certified copy attached hereto as Exhibit 4 and incorporated herein by reference). In its

 order, the Circuit Court directed entry of a final judgment as to Grand Valley pursuant to

 Tenn. R. Civ. P. 54.02 . Id. at p. 3. Affordable Construction did not appeal the final order

 dismissing Grand Valley. Therefore, the Circuit Court’s order is a final order.

        Instead, Affordable Construction filed the instant action in Hardeman County

 Chancery Court on December 6, 2019, against Owners, only. (ECF No. 1-1 at Page ID

 9-12.) Owners removed the case to this Court. (ECF No. 1 at Page ID 1-3.) On

 February 25, 2020, Owners answered Affordable Construction’s petition and filed a

 third-party complaint against Grand Valley. (ECF No. 9 at Page ID 30-38.)

                               II.   STATEMENT OF FACTS2

        Grand Valley obtained a property and casualty insurance policy from Owners

 “that afforded coverage from damage or loss to property located 405 Grand Valley

 Drive, Saulsbury, TN 38067.” Petition for Declaratory Judgment, at ¶¶ 3 and 5 (ECF 1-1


 2
   Because the Court must “construe[ ] the complaint in the light most favorable to the
 plaintiff and accept[ ] all well-pled factual allegations as true,” the statement of facts is
 based exclusively on the allegations in Affordable Construction’s complaint. Freeman v.
 Sullivan, 954 F. Supp.2d 730, 737 (W.D. Tenn. 2013).
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 at Page ID 10). On December 23, 2015, Grand Valley3 “sustained serious property

 damage due to a severe weather event.” Id. at ¶ 6. Grand Valley then submitted a claim

 to Owners for the property damage. Id.

        Affordable Construction alleges that on January 26, 2016 Grand Valley “entered

 into a contract with” Affordable Construction, the general contractor, to repair the

 property damage “in exchange for valuable consideration including ‘the amount of the

 insurance proceeds.’”4 Id. at ¶ 7. Affordable Construction then performed “temporary

 repairs . . . and completed work to submit a claim and estimate” to Owners. Id. at ¶ 8.

        Owners settled the property damage claim with Grand Valley and paid the check

 directly to Grand Valley. Id. at ¶ 9. Grand Valley cashed the check for those insurance

 proceeds. Id. at ¶ 11 (Page ID 11). Grand Valley never paid Affordable Construction. Id.

        Affordable Construction contends that, per Tenn. Code Ann. § 56-7-111, Owners

 was required to make the settlement check jointly payable to Affordable Construction as

 a payee since it was Grand Valley’s general contractor for the alleged loss. Id. at ¶¶ 10

 and 12. Affordable Construction, therefore, asserts that Owners “willfully deprived . . . [it]

 of [its] anticipated profits and [it] has lost the benefit of the bargain. Id. at ¶ 12.

                                 III.   LAW AND ARGUMENT

        Since this is a diversity action, the Court must apply the substantive law of

 Tennessee. Croce v. New York Times Co., 930 F.3d 787, 792 (6th Cir. 2019).




 3
   In ¶ 6, Affordable Construction erroneously states that “Plaintiff” sustained the property
 damage. Grand Valley is the one who sustained the property damage, as Grand Valley
 is the one who submitted a claim to Owners.
 4
    This is a legal conclusion couched as a factual statement that the Court need not
 accept as truthful. Johnson v. Moseley, 790 F.3d 649, 652 (6th Cir. 2015).
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    A. The Court can consider pleadings from the First Lawsuit without
       converting this to a motion for summary judgment.

        Courts generally decide a Rule 12 motion based only upon the allegations

 contained in the plaintiff’s complaint. Anderson v. Hartford, 2013 WL 6834386, at *2

 (W.D. Tenn. Dec. 20, 2013) (observing that on Rule 12 motions, “court[s] must construe

 the complaint in the light most favorable to the plaintiff and accept all well-pled factual

 allegations as true”). As a result, when ruling on Rule 12 motions, courts should

 ordinarily not consider matters outside of the pleadings. Rondigo, L.L.C. v. Twp. Of

 Richmond, 641 F.3d 673, 680 (6th Cir. 2011). When a court does consider matters

 outside of the pleadings, the court usually converts the motion to a motion for summary

 judgment. Fed. R. Civ. P. 12(d) (2019); Wysocki v. Int’l Bus. Mach. Corp., 607 F.3d

 1102, 1104 (6th Cir. 2010).

        However, a court may consider matters of public record without converting a

 Rule 12 motion into a summary-judgment motion. Thomas v. Noder-Love, 621 Fed.

 App’x 825, 828 (6th Cir. 2015); Morgan v. City of Ripley, Tenn., 2018 WL 3639833, at *2

 (W.D. Tenn. July 31, 2018); and Holmes v. Southwest Human Resource Agency, 2017

 WL 3741557, at *2 n. 2 (W.D. Tenn. Aug. 30, 2017). Pleadings from another lawsuit are

 public records that the Court may consider without converting this motion into a motion

 for summary judgment. See e.g., Green v. Liberty Ins. Corp., 2016 WL 1259110, at *2

 (E.D. Mich. Mar. 30, 2016) (“Lawsuits, however, are ‘matters of public record,’ and

 therefore do not convert the instant action into a motion for summary judgment.”); and

 Cadence Bank, N.A. v. DLO Title, LLC, 2018 WL 199584, at *4 (M.D. Tenn. Mar. 20,

 2018) (“The court finds that those documents submitted by the defendant that were filed

 in the Cammeron Lawsuit are matters of public record of which the court may take
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 judicial notice.”); see also Lyons v. Stovall, 188 F.3d 327, 332 n. 3 (6th Cir. 1999) (“[I]t is

 well-settled that ‘[f]ederal courts may take judicial notice of proceedings in other courts

 of record’ and we have done so here by obtaining Petitioner’s state appellate brief from

 the Michigan appellate courts.”). Therefore, the Court can consider the pleadings from

 the First Lawsuit without converting this motion into a summary-judgment motion.

     B. The Hardeman County Circuit Court has previously decided that Affordable
        Construction and Grand Valley had no contract; therefore, collateral
        estoppel precludes Affordable Construction from re-litigating whether it
        had a contract with Grand Valley.

        Affordable Construction’s claim against Owners is that Owners violated Tenn.

 Code Ann. § 56-7-111 by not making the insurance check payable to Affordable

 Construction and Grand Valley jointly. Petition, at ¶¶ 9-13. Tenn. Code Ann. § 56-7-111

 states, in pertinent part:

        When insured property losses in excess of one thousand dollars ($1,000)
        accrue to the owners of dwellings or other structures insured under
        policies of property or casualty insurance as defined in § 56-2-201, the
        insurance company shall name the general contractor, as defined in § 62-
        6-102, of any uncompleted construction or building contract as a payee on
        the draft to the owner covering payment for the loss.

 Tenn. Code Ann. § 56-7-111 (2019). Thus, Affordable Construction’s claim against

 Owners implicitly requires a contract between Affordable Construction and Grand Valley

 to support it. Affordable Construction alleges in this case that it and Grand Valley

 entered into a contract.5 Petition, at ¶ 7. But this is not true.



 5
   Affordable Construction’s allegation of a contract is insufficient to state a claim. While
 the Court must accept factual allegations as true at the motion to dismiss stage, the
 Court need not accept legal conclusions masquerading as factual allegations.
 D’Ambrosio v. Marino, 747 F.3d 378, 383 (6th Cir. 2014). Affordable Construction’s
 allegations of an enforceable contract is a legal conclusion. See e.g., Alshaibani v.
 Litton Loan Servicing, LP, 528 Fed. App’x 462, 465 (6th Cir. 2013) (allegation of breach
 of mortgage was a legal conclusion); JP Morgan Chase Bank, N.A. v. Winget, 510 F.3d
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        The Hardeman County Circuit Court has already considered whether Affordable

 Construction had a contract with Grand Valley and concluded:

        The Court, adopts all of the arguments, and legal authority cited by Grand
        Valley Lakes Property Owners Association’s Motion to Dismiss as they
        clearly, comply with the above stated standards of review. Most pertinent
        is the fact that the GVLPOA is not a party to the contract as attached as
        Exhibit A. GVLPOA, does not appear in Exhibit A as a party allegedly
        contracted with the Plaintiff. Instead the name ‘Myra Cox’ is stated in the
        blank following ‘NAME’. Likewise, there is no signature on behalf of
        GVLPOA in the signature block, only ‘Myra Cox’. There is no document or
        allegation showing GVLPOA ratified or approved Exhibit A. As stated, in 3
        C.J.S. Agency § 410 (1973), ‘[a] principal is bound neither by contracts
        made by a person not his agent, nor by those of his agent beyond the
        scope of his actual and apparent authority, which he has not ratified and is
        not estopped to deny.’ See also Bagley & Co. v. Union-Buffalo Mills Co., 9
        Tenn. App. 63, 67,-68 (1928).

        The balance of the arguments of the Defendant Grand Valley Lakes
        Property Owners Association, Inc.’s Motion to Dismiss are well taken, and
        incorporated herein by reference. Thus, for the above reasons, the
        Defendant Grand Valley Lakes Property Owners Association, Inc.’s Motion
        to Dismiss is hereby granted and the Complaint dismissed with prejudice
        as to it.

 Order at pp. 2-3 (Ex. 4).

        The collateral estoppel doctrine bars Affordable Construction from re-litigating the

 issue of whether Affordable Construction had a contract with Grand Valley in this case.



 577, 582 (6th Cir. 2007) (allegation of interpretation of contract was a legal conclusion);
 In re Cultice, 2015 WL 5093835, at *1 (N.D. Ohio Aug. 27, 2015) (“Since this asserts a
 legal conclusion that a HAMP modification was enforceable, the court is not required to
 view this allegation in Plaintiff’s favor, leaving the door open to consider Defendant’s
 argument that the contract is not enforceable as a matter of law.”); see also Le-Jo
 Enterprises, Inc. v. Cracker Barrel Old Country Store, Inc., 2013 WL 6155622, at *4
 (Tenn. Ct. App. Nov. 20, 2013) (“In its Complaint, Le-Jo makes conclusory legal
 allegations that an enforceable contract with Cracker Barrel exists; however, allegations
 in a Complaint of purely legal conclusions are insufficient when challenged by a
 Tennessee Rule of Civil Procedure 12.02(6) motion to dismiss.”); and McNaughten v.
 Lunan, 2010 WL 1956996, at *4 (Tenn. Ct. App. May 14, 2010) (“The central question in
 this case is the legal effect of a written contract, which is a question of law.”). Therefore,
 the Court should not accept this allegation as true.
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 “The purposes of collateral estoppel are to shield litigants (and the judicial system) from

 the burden of re-litigating identical issues and to avoid inconsistent results.” Gilbert v.

 Ferry, 413 F.3d 578, 580 (6th Cir. 2005). “[T]he ‘Full Faith and Credit Act . . . requires

 the federal court to give the same preclusive effect to a state-court judgment as another

 court of that State would give.’” Id. “Collateral estoppel will apply where (1) the law of

 collateral estoppel in the state in which the issue was litigated would preclude

 relitigation of such issue, and (2) the issue was fully and fairly litigated in the state

 court.” In re Markowitz, 190 F.3d 455, 461 (6th Cir.1999).

        In Tennessee, “[o]nce an issue has been actually or necessarily determined by a

 court of competent jurisdiction, the doctrine of collateral estoppel renders the

 determination conclusive on the parties and their privities6 in subsequent litigation, even

 when the claims or causes of action are different.” State ex rel. Cihlar v. Crawford, 39

 S.W.3d 172, 179 (Tenn. Ct. App. 2000). For collateral estoppel to apply, Owners must

 establish:

        (1) that the issue to be precluded is identical to an issue decided in an
        earlier proceeding, (2) that the issue to be precluded was actually raised,
        litigated, and decided on the merits in the earlier proceeding, (3) that the
        judgment in the earlier proceeding has become final, (4) that the party
        against whom collateral estoppel is asserted was a party or is in privity
        with a party to the earlier proceeding, and (5) that the party against whom
        collateral estoppel is asserted had a full and fair opportunity in the earlier
        proceeding to contest the issue now sought to be precluded.

 Bowen ex rel. Doe v. Arnold, 502 S.W.3d 102, 107 (Tenn. 2016). These five

 requirements are satisfied here.



 6
    “[T]he concept of privity relates to the subject matter of the litigation, not to the
 relationship between the parties themselves. Privity connotes an identity of interest, that
 is, a mutual or successive interest to the same rights.” State ex rel. Cihlar, 39 S.W.3d at
 180.
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        First, the issue whether Grand Valley and Affordable Construction had a contract

 is exactly what the Hardeman County Circuit Court decided. As quoted above, the

 circuit court concluded that there was no contract because Myra Cox was the person

 named in the contract and the person who signed the contract; Grand Valley’s name

 was absent from the contract. Order, at pp. 2-3 (Ex. 4). Here, in order to find that

 Owners should have placed Affordable Construction on the insurance check, the Court

 must conclude that there was a contract between Grand Valley and Affordable

 Construction that required such a result under the statute. See Tenn. Code Ann. § 56-7-

 111 (2019) (requiring insurer to name general contractor “of any uncompleted

 construction or building contract as a payee”). Thus, the issue to be precluded is

 identical to the issue that the Hardeman County Circuit Court decided.

        Second, the Hardeman County Circuit Court’s order demonstrates that Grand

 Valley raised the issue of whether it and Affordable Construction had a contract in its

 motion to dismiss, and that this was the reason the circuit court dismissed Affordable

 Construction’s claims against Grand Valley in the First Lawsuit. See Order at pp. 2-3

 (Ex. 4).

        Third, the Hardeman County Circuit Court’s order is final. In the order, the circuit

 court, pursuant to Tenn. R. Civ. P. 54.02, directed “entry of a Final Judgment as to all of

 the claims against” Grand Valley “as there is no just reason for delay as the Court has

 deposed [sic] of all the claims and none of the remaining issues relate to the claim

 against” Grand Valley. Order at pp. 3-4 (Ex. 4). Because Affordable Construction did not

 appeal the circuit court’s order within 30 days, the order became a final judgment. See

 Coldwell Bank-Hoffman Burke v. KRA Holdings, 42 S.W.3d 868, 873 (Tenn. Ct. App.
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 2000) (“The September 3, 1998 order was made final pursuant to Rule 54.02; thus,

 notice of appeal by these plaintiffs must have been filed within thirty days thereafter. . . .

 This Court has no jurisdiction to hear the appeal where the notice of appeal is not timely

 filed.”) (internal citations omitted).

        Fourth, Affordable Construction was a party to the First Lawsuit. Specifically, in

 the First Lawsuit, Affordable Construction sued Grand Valley and Owners.7 First Lawsuit

 Petition (Ex. 1).

        Lastly, in the First Lawsuit, Affordable Construction had a full and fair opportunity

 to contest this issue. Grand Valley filed a motion to dismiss on this issue. Affordable

 Construction had the right to contest this issue. First, Affordable Construction could

 have filed a response in opposition to Grand Valley’s motion to dismiss; however,

 Affordable Construction failed to file a response. Order, at p. 1 (Ex. 4). Second, the

 circuit court held a hearing on November 1, 2019, on Grand Valley’s motion at which

 Affordable Construction could have contested this issue. Id. However, no one appeared

 for Affordable Construction at that hearing. Id. Thus, despite its failure to do so,

 Affordable Construction had opportunities in which to contest this issue when it was

 raised in the First Lawsuit. Therefore, because the five requirements for collateral

 estoppel are present, the Court should preclude Affordable Construction from re-

 litigating whether it had a contract with Grand Valley in this case. See e.g., In re

 Bridgestone/Firestone, 495 S.W.3d 257, 267-69 (Tenn. Ct. App. 2015).




 7
   Tennessee has abolished the party mutuality requirement for defensive collateral
 estoppel such as here. Bowen ex rel. Doe, 502 S.W.3d at 115 n. 11.
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      C. Even if collateral estoppel did not bar Affordable Construction from re-
         litigating the issue, Affordable Construction failed to state a claim because
         there is no contract between Affordable Construction and Grand Valley.

         The interpretation of a contract is a matter of law. 84 Lumber Co. v. Smith, 356

  S.W.3d 380, 383 (Tenn. 2011). When an agreement is memorialized in writing, “the law

  favors enforcing these agreements as written.” Battery Alliance, Inc. v. T & L Sales, Inc.,

  2015 WL 6873202, at *5 (Tenn. Ct. App. Nov. 9, 2015). The Court’s “task is to ascertain

  and to give effect to the contracting parties’ intentions by considering the entire

  agreement without favoring either party.” Bill Walker & Associates, Inc. v. Parrish, 770

  S.W.2d 664, 769 (Tenn. Ct. App. 1989) (internal citations omitted). “The intention of the

  parties is based on the ordinary meaning of the language contained within the four

  corners of the contract.” MLG Enterprises, LLC v. Johnson, 507 S.W.3d 183, 186 (Tenn.

  2016). Because this Court is “not concerned with the parties’ state of mind when they

  entered into the contract,” it does “not consider their uncommunicated, subjective

  intentions.” Bill Walker & Associates, 770 S.W.2d at 770.

         The Court enforces an unambiguous contract8 as written,9 even if doing so



  8
    A contract is ambiguous “only when it is of uncertain meaning and may fairly be
  understood in more ways than one.” Maggart, 259 S.W.3d at 704. A contract is not
  ambiguous “merely because the parties . . . may interpret the term[s] in different ways.”
  Adkins v. Bluegrass Estates, Inc., 360 S.W.3d 404, 412 (Tenn. Ct. App. 2011); see also
  Dog House Investments, LL v. Teal Properties, Inc., 448 S.W.3d 905, 913 (Tenn. Ct.
  App. 2014). Thus, Affordable Construction’s belief that the contract is ambiguous or
  should be interpreted differently is insufficient.
  9
    Affordable Construction cannot attempt to establish liability based on parol evidence
  that Cox was signing as a representative of Grand Valley. Courts only consider extrinsic
  evidence when the contract is ambiguous. Cummings Inc. v. Dorgan, 320 S.W.3d 316,
  333 (Tenn. Ct. App. 2009) (“If a contract is ambiguous, then a court may look beyond
  the four corners of the document and consider extrinsic evidence in order to determine
  the parties’ intention.”); Kiser v. Wolfe, 353 S.W.3d 741, 748 (Tenn. 2011) (“An
  elementary precept of contract law is that when the language is clear, courts must not
  look beyond the four corners of the instrument.”); and Mudd v. Goosetree, 2013 WL
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  produces harsh results. Maggart v. Almany Realtors, Inc., 259 S.W.3d 700, 704 (Tenn.

  2008) (“If the language of the contract is clear and unambiguous, the literal meaning

  controls the outcome of the dispute.”); Davis v. Tenn. Rural health Improvement Assoc.,

  2015 WL 7748636, at * (Tenn. Ct. App. Nov. 30, 2015) (“If a contract is unambiguous, a

  court must interpret it as written and not in accordance with a party’s unexpressed

  intent.”); Crye-Leike, Inc. v. Carver, 415 S.W.3d 808, 816 (Tenn. Ct. App. 2011)

  (“[C]ourts will not rewrite an unambiguous term simply to avoid harsh results.”); and

  Cameron General Contractors, Inc. v. Kingston Pike, LLC, 370 S.W.3d 341, 346 (Tenn.

  Ct. App. 2011) (reversing trial court’s award because the contract must be enforced as

  written rather than to avoid a harsh result).

         The question here is whether there was ever a contract between Grand Valley

  and Affordable Construction. “Whether or not a particular contract shows a clear intent

  that one of the parties was contracting as an individual or in a representative capacity,

  must be determined from the contract itself.” MLG Enterprises, LLC v. Johnson, 507

  S.W.3d 183, 186 (Tenn. 2016) (emphasis in original). The contract attached to



  1402157, at *2 (Tenn. Ct. App. Apr. 5, 2013) (when determining whether individual was
  liable in individual capacity, court refused to look beyond the four corners of the contract
  since there was no ambiguity). The contract here is unambiguous because there is no
  mention of Grand Valley in the contract. See Lazarov v. Klyce, 255 S.W.2d 11, 13
  (Tenn. 1953) (finding no ambiguity when contract failed to include corporate
  designation); Campora v. Ford, 124 S.W.3d 624, 628-29 (Tenn. Ct. App. 2003) (“The
  Note at issue in this case contains no ambiguities; rather, the Note, on its face, appears
  complete and there is nothing in the document to indicate that Mr. Ford’s signature was
  made in a representative capacity. It is well established that parol evidence cannot be
  used to contradict the terms of a written contract that is complete and unambiguous on
  its face.”). Thus, Affordable Construction cannot rely upon parol evidence to establish a
  different intention than expressed in the written contract. Nazi v. Jerry’s Oil Co., Inc.,
  2014 WL 3555984, at *10 (Tenn. Ct. App. July 18, 2014) (“[A]n officer of a corporation
  who signs, without adding any words to his signature . . . cannot show by parol
  evidence that a corporate liability was intended.”); Lazarov, 255 S.W.2d at 13.
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  Affordable Construction’s petition demonstrates that Grand Valley is not a party to the

  contract. First, in the section entitled “NAME,” “Myra Cox” is written with no reference to

  Grand Valley. (ECF No. 1-1 at Page ID 14.) Second, on the signature line, Myra Cox

  signed again with no reference to Grand Valley. Id. Thus, the contract Affordable

  Construction relies upon does not mention Grand Valley. Without language indicating

  that Myra Cox was signing on behalf of Grand Valley, Grand Valley is simply not a party

  to the alleged contract.

         This situation is similar to that presented in the case of Simpson Operating Co.,

  Inc. v. Schwotzer, 1990 WL 130829 (Tenn. Ct. App. Sept. 12, 1990). In Simpson, the

  plaintiff landlord executed a lease with the defendant tenant. Id. at *1.       The lease

  identified the parties as plaintiff and Eric H. Schwotzer d/b/a Gem Parlor, Inc. Id. Eric

  Schwotzer executed the lease as the lessee. Id. The plaintiff sued Schwotzer, but

  Schwotzer argued that he had no personal liability because he, as the president,

  executed the lease on behalf of his corporation, Gem Parlor, Inc. Id. Finding the lease

  unambiguous, the court concluded that Schwotzer—not the corporation—was the party

  to the contract:

         Gem Parlor, Inc. is not a party to the lease; it is mentioned only in the
         context of a trade name, and clearly cannot be liable thereunder. Even
         had Schwotzer executed the Lease ‘Eric H. Schwotzer, d/b/a Gem Parlor,
         Inc.,’ that is, an individually anomalously trading as a corporation, be
         nevertheless would be liable in a personal capacity, because it is the
         individual, and not his tradename, who is contracting. We think that the
         signature of Schwotzer, by which he described himself as the Lessee,
         without a restrictive nomenclature, forecloses the issue.

  Id. Consequently, in order for Grand Valley to be a party to the contract, the contract

  must indicate that Myra Cox signed in her official capacity on behalf of Grand Valley.

  Because there is no mention of Grand Valley in the contract, contrary to Affordable
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  Construction’s conclusory legal assertions, Grand Valley is not a party to a contract with

  Affordable Construction. See e.g., Bright Hope United Methodist Church v. Small, 1996

  WL 465530, at *3-4 (Tenn. Ct. App. Aug. 16, 1996) (concluding that promissory note

  was in individual capacity as opposed to corporate capacity where “[a]lthough the note

  specifies that it is secured by the Halls Walk-In Medical Clinic, Inc., it is not signed by

  anyone from the corporation in an appropriate representative capacity”).

     D. Because there is no contract between Affordable Construction and Grand
        Valley, Tenn. Code Ann. § 56-7-111 is inapplicable; therefore, Affordable
        Construction failed to state a claim.

         Under Tenn. Code Ann. § 56-7-111, Owners must “name the general contractor .

  . . of any uncompleted construction or building contract as a payee on the draft to the

  owner covering payment for the loss.” Tenn. Code Ann. § 56-7-111 (2019). Even

  assuming that this statute creates a private cause of action, which Owners disputes,

  Affordable Construction fails to state a claim.

         In order for Owners to be obligated to name Affordable Construction as a payee

  on the check that it wrote to Grand Valley, there must have been an uncompleted

  construction or building contract between Affordable Construction and Grand Valley.

  However, as explained in sections B and C above, Affordable Construction had no such

  contract with Grand Valley. Therefore, without such a contract, by the statute’s plain

  terms, Owners was not obligated to name Affordable Construction on its check to Grand

  Valley. Accordingly, Affordable Construction fails to state a claim as a matter of law in

  this case.

                                     IV.   CONCLUSION

         Tenn. Code Ann. § 56-7-111 requires property and casualty insurers, like
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  Owners, to name the general contractor “of any uncompleted construction or building

  contract” as a payee on the check to the insured. Tenn. Code Ann. § 56-7-111 (2019).

  Affordable Construction asserts that Owners violated this statute when it did not name

  Affordable Construction on its check to Grand Valley. For its contract, Affordable

  Construction relies upon a contract it executed with Myra Cox. (ECF No. 1-1 at Page ID

  14.)

         Affordable Construction fails to state a claim, however, because its contract was

  with Myra Cox individually—not with Grand Valley. The Hardeman County Circuit Court

  previously decided that there was no contract between Affordable Construction and

  Grand Valley. Order, at pp. 2-3 (Ex. 4). Thus, the doctrine of collateral estoppel bars

  Affordable Construction from re-litigating this issue. Even without collateral estoppel, the

  document that Affordable asserts constitutes the contract establishes that, under

  Tennessee law, Grand Valley is not a party to the contract because there is no

  indication that Myra Cox executed the contract in a representative capacity on behalf of

  Grand Valley. Consequently, without a contract between Affordable and Grand Valley,

  Tenn. Code Ann. § 56-7-111 is inapplicable. Therefore, Affordable Construction has

  failed to state a claim as a matter of law in this case and this case should be dismissed.

                                            Respectfully submitted,

                                            RAINEY, KIZER, REVIERE & BELL, P.L.C.


                                            By:   s/ Michael L. Mansfield
                                               BRADFORD D. BOX (BPR No. 16596)
                                               MICHAEL L. MANSFIELD (BPR No. 18781)
                                               209 East Main Street
                                               P.O. Box 1147
                                               Jackson, Tennessee 38302-1147
                                               (731) 423-2414–telephone
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                                                 (731) 426-8150–facsimile
                                                 bbox@raineykizer.com
                                                 mmansfield@raineykizer.com
                                                 Attorneys for Defendant
                                                 Owners Insurance Company



                                 CERTIFICATE OF SERVICE

          I hereby certify that on this the 5th day of May, 2020, a copy of the foregoing was
  filed electronically. Notice of this filing will be sent by operation of the Court's electronic
  filing system to all parties indicated on the electronic filing report, including the parties
  below. All other parties will be served by facsimile, e-mail, or regular U.S. Mail. Parties
  may access this filing through the Court's electronic filing system.

         Randall N. Songstad                         George R. Fusner, Jr.
         254 Court Avenue, Ste. 213                  Partin Ray Building
         Memphis, TN 38103                           7104 Peach Court
         Attorney for Plaintiff                      Brentwood, TN 37027
                                                     Attorney for Grand Valley


                                                     s/ Michael L. Mansfield
